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          Sacramento, CA 95818
      4

      5                     UNITED STATES DISTRICT COURT FOR THE
      6                         EASTERN DISTRICT OF CALIFORNIA
      7

      8   United States of America,                ) Case No.: Cr. S. 04-305 DFL
                                                   )
      9               Plaintiff,                   )
                                                   ) Date: October 23, 2007
     10         vs.                                ) Time: 10:00 a.m.
                                                   ) Court: Hon. D. Lowell Jenson
     11   Martin Isias, et. al.,                   )
                                                   ) Stipulation & Order to Continue
     12               Defendant.                   ) Judgment & Sentencing
                                                   )
     13

     14         On February 9, 2007 Martin Isias pled guilty to Count Two
     15   of a 21 count third superseding indictment.           Martin Isias is
     16   currently scheduled to be sentenced on August 7, 2007.             There
     17   are several sentencing issues which will require the defense to
     18   present documentation to the probation office.           Defense
     19   investigator, Robert Storey, has now interviewed relevant
     20   defense witnesses and obtained transcripts necessary for
     21   sentencing.     Mr. Isias is in the process of submitting informal
     22   objections to probation based on this information.           Mr. Isias
     23   will request an evidentiary hearing on disputed issues effecting
     24   sentencing.
     25         Therefore Mr. Isias requests that his judgment and
     26   sentencing be continued to October 23, 2007 if that date is
     27   available with the Court.          The government and the probation
     28




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      1   office have no objection to this request.            The parties request
      2   the following schedule:
      3         Informal Objections          –    September 20, 2007
      4         Final Report                 -    September 27, 2007
      5         Sentencing Memorandum -           October 11, 2007
      6         Opposition                   -    October 18, 2007
      7         Judgment & Sentencing -           October 23, 2007 at 10:00 a.m.
      8

      9   Dated: July 30, 2007            Respectfully submitted,
     10

     11                                           __/s/ Shari Rusk_____________
                                                  Shari Rusk
     12                                           Attorney for Defendant
                                                  Martin Isias
     13

     14
                                                   /s/ Phil Ferrari_______
     15    Dated: July 30, 2007                  Phil Ferrari
                                                  Assistant United States Attorney
     16

     17                                            _
     18                                ORDER
     19
                It is so ordered.        The judgment and sentencing in this
     20
          matter will be calendared for October 23, 2007 at 10:00 a.m.
     21

     22
          Dated: July 31, 2007                            ___
     23                                          /s/ D. Lowell Jensen______________
                                                 Hon. Judge D. Lowell Jenson
     24                                          United States District Court Judge
     25

     26

     27

     28




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